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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AIVIERICA,                     )
                                                )
                       Plaintiff,               )
                                                )
vs.                                             )        Case No.3 :06 - cr - 603
                                                )
                                                )
EZEQUIEL MAGANA-RAMOS,                          )
                                                )
                       Defendant.               )

      REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The defendant

entered a plea of guilty to Count(.)        l       of   th~~t/Im~naotien.After cautioning
and examining the defendant under oath concerning each ofthe subjects mentioned in Rule 11, I

determined that the guilty pleatj) was/WIiIJe knowing and voluntary as to   e~count, and that the
offenses/a) charged is_ supported by an independent factual basis concerning each of the

essential elements of such offense/a). I, therefore, recommend that the plea(lt} of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the defendant be

adjudged guilty and have sentence imposed accordingly.




~D   l~, '1~n
Date                                                                SHIELDS
                                                                    TES MAGISTRATE JUDGE


                                                NOTICE

       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
